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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :       Case No:
                                              :
               v.                             :
                                              :       VIOLATIONS:
                                              :
JESUS RIVERA,                                 :       18 U.S.C. § 1752(a),
                                              :       (Restricted Building or Grounds)
               Defendant.                     :
                                              :       40 U.S.C. § 5104(e)(2)
                                              :       (Violent Entry or Disorderly Conduct)

     MOTION TO SEAL AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place and maintain under seal, until the Arrest

Warrant is executed, the Affidavit in Support of Criminal Complaint, Criminal Complaint, and

Arrest Warrant in the above-captioned matter, this Motion and Supporting Memorandum, the

proposed Order attached to this Motion, and any Order granting this motion. In support thereof,

the government states as follows:

       1.      The United States is investigating allegations that Jesus Rivera willfully and

knowingly entered the United States Capitol on January 6, 2021, without legal authority, and

participated in violent and disorderly conduct in violation of 18 U.S.C. § 1752(a)(1) and 40

U.S.C. § 5104(e)(2).

       2.      The Affidavit in Support of Criminal Complaint references evidence gathered in

the course of the investigation, including the use of a digital device in furtherance of the crime.

The public disclosure of the Government’s evidence could compromise the integrity of the

investigation, including the ability of the United States to locate and arrest the defendant, which
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also may lead to the destruction of evidence in other locations including the digital device.

Thus, a sealing order is necessary to avoid hindering the ongoing investigation in this matter.

       2.      As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),

there is a presumption of access to Court proceedings. But, this can be overridden if “‘(1)

closure serves a compelling interest; (2) there is a substantial probability that, in the absence of

closure, this compelling interest would be harmed; and (3) there are no alternatives to closure

that would adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co.

v. United States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

       3.      In this matter, the United States has a compelling interest in preserving the

integrity of its investigation and arresting the defendant. A limited sealing order ensuring that

filings related to the Criminal Complaint and Arrest Warrant are not accessible from the Court’s

public files is narrowly tailored to serve a compelling interest.

       4.      Furthermore, the United States respectfully submits that complying with the

normal notice requirements of Washington Post would defeat the purpose of the motion to seal.

Persons who know the criminal justice system also know that docketing a motion to seal an

Affidavit in Support of Criminal Complaint and Arrest Warrant, or a resulting sealing order,

means that the defendant is charged with a crime, and the Government intends to arrest the

defendant. Thus, if this Motion or a sealing order were to become public, it would be the same

as making public the Complaint and Arrest Warrant.

       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal, until execution of the Arrest




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Warrant, the Affidavit in Support of Criminal Complaint, this Motion and Supporting

Memorandum, the proposed Order attached to this Motion, and any Order granting this motion.

                                          Respectfully submitted,

                                          MICHAEL SHERWIN
                                          ACTING UNITED STATES ATTORNEY


                                          __________________________________
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                                               :       (Restricted Building or Grounds)
                Defendant.                     :
                                               :       40 U.S.C. § 5104(e)(2)
                                               :       (Violent Entry or Disorderly Conduct)

                                              ORDER

        This matter having come before the Court pursuant to the application of the United States

to seal, the Court finds that, because of such reasonable grounds to believe the disclosure of the

complaint and associated filings will result in flight from prosecution, destruction of or

tampering with evidence, intimidation of potential witnesses, and serious jeopardy to the

investigation, the United States has established that a compelling governmental interest exists to

justify the requested sealing.

        1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

that the affidavit in support of criminal complaint and other related materials, the instant

application to seal, and this Order are sealed until the arrest warrant is executed.

        2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.


Date:                                                  ___________________________________

                                                       UNITED STATES MAGISTRATE JUDGE
